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                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION
                                   §
 ROLANDO REYES, JR.,               §
       Plaintiff                   §
                                   §
 vs.                               §     Case No.: 3:22-cv-114
                                   §
 JOHNNY CAGLE, OFFICER O.          §
 MENDOZA, OFFICER JOHN DOE         §
 and CITY OF LAKE JACKSON          §
        Defendants.                §


 PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’ MOTION TO DISMISS,
  AND PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS


TO THE HONORABLE COURT:

         Plaintiff ROLANDO REYES JR. (“Plaintiff”) files this Plaintiff’s Motion to

Strike and Plaintiff’s Response to Defendants’ Motion to Dismiss to thoroughly

respond and address each point raised in Defendants’ Motion to Dismiss filed by

Defendants CITY OF LAKE JACKSON and JOHN DOE (collectively,

“Defendants”) under Rule 12(b)(6) of the Federal Rules of Civil Procedure. See Dkt.

No. 7.

                      I.      STATEMENT OF ISSUES PRESENTED

         1.     Whether Defendants’ Motion to Dismiss should be struck, in its

entirety, or in part for failing to follow local rules and for attempting to present

conclusory statements rather than assert that Plaintiff’s pleadings are not sufficient.


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        2.         Whether Plaintiff alleged sufficient facts to state a claim against a

Defendant Supervisor for failing to provide medical care (Count V), for failing to

intervene (Count VI), and for supervisory liability (Count VII) where Defendant

Supervisor observed his officers use excessive force and unlawfully arrest and injure

a law-abiding citizen and did nothing about it.

             II.     STATEMENT OF LEGAL AUTHORITIES PRESENTED

        Defendants are not entitled to dismissal because the “[t]he pleadings on their

face show an unreasonable violation of a clearly establish constitutional right, [and

therefore] the defense of qualified immunity will not sustain a motion to dismiss

under Rule 12(b)(6).” Shipp v. McMahon, 234 F.3d 907, 912 (5th Cir. 2000),

overruled in part on other grounds by McClendon v. City of Columbia, 305 F.3d

314, 329 (5th Cir. 2002).

        The sufficiency of Plaintiff’s pleadings is governed by FED. R. CIV. P. 8(a)(2)

and FED. R. CIV. P. 12(b)(6).

        Authority for making a Section 1983 claim for failure to intervene when “an

officer who is present at the scene and does not take reasonable measure to protect

a suspect from another officer’s use of force” can be found in Hale v. Townley, 45

F.3d 914, 919 (5th Cir. 1995).

        Authority for making a Section 1983 claim for failure to provide medical care

is found at Kelson v. Clark, 1 F.4th 411, 418 (U.S. 5th Cir. 2021) (citing Hare v. City



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of Corinth, 74 F.3d 633, 645 (5th Cir. 1996), Thompson v. Upshur Cty., 245 F.3d

447, 457 (5th Cir. 2001), and Dyer v. Houston, 964 F.3d 374, 380 (5th Cir. 2020)).

        Authority for making a Section 1983 claim for supervisory liability can be

found in Gates v. Tex. Dep’t of Protective &Regulatory Servs., 537 F.3d 404, 435

(5th Cir. 2008).

        Authority for a Section 1983 claim against a municipality for its failure to

train its officers can be found in World Wide St. Preachers Fellowship v. Town of

Columbia, 591 F.3d 747, 756 (5th Cir. 2009).

                                  III.    MOTION TO STRIKE

A.      Failure to Comply with Local Rules

        Counsel for Defendants failed to comply with Rule 6 of the Galveston

District Court Rules of Practice, which states, in part:

        To advance the case efficiently and minimize the costs of litigation, the
        court requires a party intending to file a motion to dismiss under Rule
        12(b) to confer with opposing counsel concerning the expected
        motion’s basis. The party seeking dismissal shall further inform the
        respondent, by letter, of the right to amend the pleadings under these
        procedures, specifying that the amended pleading must be filed within
        14 days of the date of the letter. If the pleading is not so amended, the
        motion to dismiss may be filed. In such a case: (1) a certificate of
        conference shall accompany the motion to dismiss expressly stating
        that the movant has complied with this rule and noting that the non-
        movant did not timely amend its pleading; and (2) the non-movant shall
        not be allowed to amend its pleading unless the non-movant’s case
        survives the motion and the non-movant obtains leave to amend from
        the court.




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        Defendants’ counsel failed to: (1) confer with Plaintiff’s counsel about

Defendant’s 12(b)(6) motion; (2) send a letter to Plaintiff’s counsel; or (3) include a

certificate of conference stating that Defendants complied with the Rule. For these

reasons, Defendants’ motion should be struck in its entirety.

B.      Defendants Improperly Assert Their Own Conclusory Facts in Attempt
        to Prevail on a 12(b)(6) Motion to Dismiss

        Defendants assert that “Supervisor (John Doe)1 . . . arrived on the scene after

the arrest.” See Dkt. No. 7, ¶ 1. Defendants also state that Plaintiff’s arrest arose

from “his potential violation of Texas Penal Code § 38.13 and/or § 38.15.” See Dkt.

No. 7, ¶ 4.       These conclusory statements are without evidence and improper

assertions that are inconsistent with Plaintiff’s pleadings. Therefore, paragraphs 1

and 4 of Defendants’ Motion to Dismiss should be struck, or in the alternative, not

considered by this Court for purposes of evaluating whether Defendants can succeed

under Rule 12(b)(6).

        “The court accepts all well-pleaded facts as true, viewing them in the light

most favorable to the plaintiff.” Vanderbrook v. Unitrin Preferred Ins. Co. (In re

Katrina Canal Breaches Litig.), 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin

K. Eby Construction Company, Inc. v. Dallas Area Rapid Transit, 369 F.3d 464, 467

(5th Cir. 2004)) (internal quotation marks omitted)).


1
 Interestingly, Defendants refuse to disclose Supervisor John Doe’s identity, but go on to make
conclusory statements about when he was present.


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        Plaintiff clearly asserted that “Defendant John Doe observed Defendant Cagle

unlawfully arrest Plaintiff and then sit on Plaintiff and restrict his breathing.” See

Dkt. No. 1, ¶ 109.           Plaintiff explicitly pled that Defendant Doe “had ample

opportunity and time to intervene.” See Dkt. No. 1, ¶ 112. Plaintiff also sufficiently

stated that “Defendant John Does was on scene and did nothing to prevent the

constitutional violations.” See Dkt. No. 1, ¶ 125.

           IV.     RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

A.      Standard of Review

        All that is required under the Federal Rules of Civil Procedure is for Plaintiff

to plead “a short and plain statement of the claim showing that [he is ] entitled to

relief.” Fed. R. Civ. P. 8(a)(2). The statement need only provide Defendants “fair

notice” of the claims and their respective factual bases. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007). “Specific facts are not necessary.” Inhale, Inc. v.

Gravitron, LLC, 2018 U.S. Dist. LEXIS 223241, at *3 (W.D. Tex. Dec. 10, 2018)

(quoting Erickson v. Pardus, 551 U.S. 89, 93 (2007))

        In deciding a motion under Rule 12(b)(6), the Court views the pleadings in a

light most favorable to the Plaintiff and assumes that all facts in Plaintiff’s complaint

are true. Club Retro, L.L.C., v. Hilton, 568 F.3d 181, 194 (5th Cir. 2009). Finally,

motions to dismiss under Rule 12(b)(6) “are viewed with disfavor and are rarely

granted.” Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 231 (5th Cir. 2009).



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B.      Defendant Doe is Not Entitled to Qualified Immunity Because His
        Conduct as Alleged Violated Plaintiff’s Clearly Established Rights

        Qualified immunity “is an affirmative defense which must be established by

the defendant.” Teladoc, Inc. v. Tex. Med. Bd., 2015 U.S. Dist. LEXIS 166754, at

*18-19 (W.D. Tex. Dec. 14, 2015) (collecting cases). Defendants simply assert (in

a conclusory fashion) that since “Supervisor John Doe was not on the scene at the

time of Reyes’ arrest it is unclear what clearly established constitutional right was

violated by John Doe.” See Dkt. No. 7, ¶ 5. Importantly, Defendants’ position fails

simply because Plaintiff alleged that Supervisor John Doe was on the scene at the

time of Plaintiff’s arrest. For this reason, Defendants failed to establish qualified

immunity.

        “A public official is entitled to qualified immunity unless a plaintiff can show

(1) that the official violated a statutory or constitutional right, and (2) that the right

was ‘clearly established’ at the time of the challenged conduct.” Gerhart v.

McLendon, 714 F. Appx. 327, 333 (5th Cir. 2017) (citing Ashcroft v. al-Kidd, 563

U.S. 731, 735 (2011).

        1. Constitutional Violation – Failure to Provide Medical Care (Count V) 2

        “After the initial incidents of a seizure have concluded and an individual is

being detained by police officials but has yet to be booked, an arrestee's right to


2
 Defendants’ Motion to Dismiss does not mention or address Defendant Doe’s failure to provide
medical care. See generally Dkt. No. 7.


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medical attention, like that of a pretrial detainee, derives from the Fourteenth

Amendment.” Nerren v. Livingston Police Dep't, 86 F.3d 469, 473 (5th Cir. 1996).

        Defendants do not dispute that Plaintiff was a pretrial detainee. “[T]he law

was clearly established that pretrial detainees have a Fourteenth Amendment right

to medical care.” Kelson, 1 F.4th at 421 (citing Hare, 74 F.3d at 645; Thompson,

245 F.3d at 457; Dyer, 964 F.3d at 380; and Jacobs v. W. Feliciana Sheriff's Dep't,

228 F.3d 388, 393-94 (5th Cir. 2000)).

        Here, Plaintiff’s Complaint sufficiently states a claim against Defendant Doe

for refusing to provide medical care. Plaintiff alleges that Defendant Doe knew that

Plaintiff sustained head and back injuries, was bleeding from his head and arms, and

that these injuries required immediate medical attention, but Doe knowingly failed

to provide immediate and necessary medical care. See Dkt. No. 1, ¶¶ 100-102.

        Critically, Defendants do not dispute whether Plaintiff could demonstrate a

violation of his constitutional rights by showing that Defendant Doe “refused to treat

him, ignored his complaints, intentionally treated him incorrectly, or engaged in any

similar conduct that would clearly evince a wanton disregard for any serious medical

needs.” Kelson, 1 F.4th at 421 (internal citations omitted).

        Plaintiff has sufficiently alleged a claim against Defendant Doe for

deliberately failing to provide medical care.




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        2. Constitutional Violation – Failure to Intervene (Count VI) 3

        Under the Fifth Circuit’s clearly-established bystander liability doctrine, “an

officer who is present at the scene and does not take reasonable measures to protect

a suspect from another officer’s use of force may be liable under section 1983.”

Hale, 45 F.3d at 919. “To prove bystander liability, the plaintiff must show ‘the

officer '(1) knows that a fellow officer is violating an individual’s constitutional

rights; (2) has a reasonable opportunity to prevent the harm; and (3) chooses not to

act.’” McDonald v. McClelland, 779 F. App'x 222, 226 (5th Cir. 2019) (quoting

Whitley v. Hanna, 726 F.3d 631, 647 (5th Cir. 2013)).

        Here, Plaintiff properly alleges that Defendant Doe observed another officer

unlawfully arrest and assault Plaintiff even though Plaintiff was not committing any

crime. See Dkt. No. 1, ¶¶ 109-115. Defendants simply assert that Defendant Doe

was not present, but that is not relevant for this Court’s inquiry for purposes of Rule

12(b)(6). Plaintiff properly alleged that Doe was in fact present, knew another

officer was violating Plaintiff’s constitutional rights, and despite having ample time

and opportunity to do so, failed to intervene.

        3. Supervisory Liability (Count VII)

        Defendants are correct that supervisors cannot be held vicariously liable under



3
  Defendants’ Motion to Dismiss does not mention or address Defendant Doe’s failure to
intervene. See generally Dkt. No. 7.


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Section 1983 for the conduct of others. Estate of Davis ex rel. v. City of N. Richland

Hills, 406 F.3d 375, 381 (5th Cir. 2005). However, a supervisor can be liable for his

own conduct that violated a plaintiff’s constitutional rights. Id.

        Defendants are correct that Plaintiff did not state “a claim of conduct that John

Doe actually committed that violated Reyes’ clearly established constitutional right

to be free from arrest.” See Dkt. No. 7, ¶ 4. However, what Defendants omit or do

not discuss is that Plaintiff alleges that Doe engaged in other conduct. Namely, Doe

engaged in conduct of violating Reyes’ clearly established constitutional rights to be

provided with immediate and necessary medical treatment, and that Doe was

required to intervene and stop the gross constitutional violations of other officers

from continuing.

        Plaintiff has sufficiently alleged a bystander liability claim against Defendant

Doe for deliberately failing to provide medical care and for failing to intervene.

        4. Qualified Immunity – Clearly Established Law

        Defendant Doe is not entitled to qualified immunity for his conduct alleged

because he violated Plaintiff’s clearly established constitutional rights to be entitled

to proper medical care as a pretrial detainee, and that Doe would intervene and would

prevent further harm from other officers’ constitutional violations. “In the context

of a motion to dismiss, ‘if the pleadings on their face show an unreasonable violation

of a clearly established constitutional right, the defense of qualified immunity will



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not sustain a motion to dismiss under Rule 12(b)(6).’” Morales v. Gomez, No. EP-

14-CV-00189-DCG, 2014 U.S. Dist. LEXIS 202305, at *9 (W.D. Tex. Nov. 7, 2014)

(quoting Shipp v. McMahon, 234 F.3d 907, 912 (5th Cir. 2000) overruled on other

grounds by McClendon v. City of Columbia, 305 F.3d 314, 329 (5th Cir. 2002)). As

discussed herein, Plaintiff alleged sufficient facts to support his claims against

Officer Doe, so Officer Doe is not entitled to dismissal.

        “In order for a right to be ‘clearly established,’ the relevant legal authorities

must give the officer ‘fair warning’ that his or her conduct was unlawful.” Gerhart

v. McLendon, 714 Fed. Appx. 327, 333 (5th Cir. 2017) (citing Hope v. Pelzer, 536

U.S. 730, 739-41 (2002)). “Although the right cannot be defined too abstractly, the

Supreme Court has rejected any requirement that the facts of prior cases be

‘fundamentally’ or ‘materially’ similar.” Id. “Thus, officials can still be on notice

that their conduct violates established law even in novel factual circumstances. The

key question is not whether there is a case directly on point, but whether a reasonable

officer would understand that his or her conduct was unlawful.” Id. (citing Kinney

v. Weaver, 367 F.3d 337, 349-50 (5th Cir. 2004) (internal citation omitted).

        The court “need not immunize an officer from suit for an obvious violation

simply because no case has held that the officer’s precise conduct was unlawful.”

Id. at 334-335. Where there is an absence of controlling authority, “a consensus of

cases of persuasive authority” can be “sufficient to compel the conclusion that no



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reasonable officer could have believed that his or her actions were unlawful. Case

law need not be directly on point, though it should be close, and if the conduct is

particularly outrageous, the caselaw putting the officer on notice can be more general

in character.” Graves v. Zachary, 277 Fed. Appx. 344, 348 n.4 (5th Cir. 2008) (citing

McClendon v. City of Columbia, 305 F.3d 214, 329 (5th Cir. 2002) and Pierce v.

Smith, 117 F.3d 866, 882 (5th Cir. 1997) (“We recognize that in order to preclude

qualified immunity it is not necessary that the very action in question has previously

been held unlawful, or that the plaintiff point to a previous case that differs only

trivially from his case. However, the facts of the previous case do need to be

materially similar. We also recognize that the egregiousness and outrageousness of

certain conduct may suffice to obviously locate it within the area proscribed by a

more general constitutional rule . . . .”).

        As described above, Defendant Doe is alleged to have committed

constitutional violations that were clearly established.

    C. Plaintiff Properly Asserted a Failure to Train Monell Claim Against
       Defendant City

        “A municipality's failure to train its police officers can without question give

rise to § 1983 liability.” World Wide St. Preachers Fellowship v. Town of Columbia,

591 F.3d 747, 756 (5th Cir. 2009). Such “failure to train” claims can prevail where

plaintiff establishes that: “(1) the [official] failed to train or supervise the officers

involved; (2) there is a causal connection between the alleged failure to supervise or

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train and the alleged violation of the plaintiff's rights; and (3) the failure to train or

supervise constituted deliberate indifference to the plaintiff's constitutional

rights.” Thompson v. Upshur County, 245 F.3d 447, 459 (5th Cir. 2001).

        1. Failure to Train

        In resolving the issue of a city’s liability, the focus must be on adequacy of

the training program in relation to the tasks the particular officers must perform.

City of Canton v. Harris, 489 U.S. 378, 391 (1989). Here—even if the Court were

to defer to Defendants’ conclusory allegations—Defendants Cagle and Mendoza

were sent to investigate a motor vehicle collision and respond to crowd control. See

Dkt. No. 7, ¶ 3. (emphasis added).

        The most basic function of crowd control requires that officers be aware of

the constitutional rights the “crowd.” Without such knowledge, no officer could be

expected to manage such a crowd without potentially violating some their rights,

which is exactly what happened to Mr. Reyes. It is uncontested that officer Cagle

was clearly unaware of plaintiff’s free speech rights. See Dkt. No. 1, ¶¶ 61-62.

Officer Mendoza’s knowledge of the applicable law was also clearly inadequate as

he did nothing to correct Cagle’s incorrect statements. See Dkt. No. 1, ¶ 62.

        Further, several other officers from Defendant City’s police department were

on the scene, but none of them did anything to stop the continued violations. See

Dkt. No. 1, ¶ 46. Officer Doe, the supervisor on the scene, continued to keep



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Plaintiff in custody which resulted in him being handcuffed to the hospital bed for

hours (when he finally received medical attention). See Dkt. No. 1, ¶¶ 57, 59. It

was not until plaintiff had already been unlawfully detained for several hours that a

call came through directing plaintiff to be removed from his handcuffs. See Dkt.

No. 1, ¶¶ 58-59. This is clear evidence that Defendant City failed to train its officers

or supervisors on what their citizens’ rights to free speech were.

        2. Casual Connection

        The casual connection between the failure to train and the violation of

Plaintiff’s rights is clear and absolute. Had any of the officers on the scene been

properly trained as to a citizen’s First Amendment rights for filming in a public

space, then they never would have engaged Plaintiff in the first place and no

unlawful detention, arrest, and assault would have occurred.

        Under some circumstances, “predicting how a hypothetically well-trained

officer would have acted may not be an easy task for the fact finder.” Canton, 489

U.S. at 391. That is not the case in this situation. A factfinder would easily be able

to infer, based on Plaintiff’s sufficiently pled complaint, that a well-trained officer

would have simply recognized that Plaintiff was engaging in a constitutionally

protected activity and thus would have left him alone. There is realistically no

plausible alternate cause for the injuries sustained to plaintiff except for Defendant

City’s failure to train its officers.



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        3. Deliberate Indifference

        Deliberate indifference may be shown in two ways. Littell v. Houston Indep

Sch. Dist., 894 F.3d 616, 624 (5th Cir. 2018). Generally, a plaintiff shows deliberate

indifference by demonstrating a pattern of similar violations arising from inadequate

training. Burge v. Tammany Parish, 336 F.3d 363, 370 (5th Cir. 2003). A pattern

of similar violations helps to establish that “persistent, widespread practice of city

officials or employees which, although not authorized by officially adopted and

promulgated policy, is so common and well settled as to constitute a custom that

fairly represents municipal policy.” World Wide St. Preachers Fellowship, 591 F.3d

at 754.

        Here, Plaintiff’s rights were violated initially by officer Cagle who demanded

that he cease engaging in a lawful activity of collecting news. See Dkt. No. 1, ¶¶

26-30, 35. Officer Mendoza then violated his rights by assisting officer Cagle in

plaintiff’s unlawful arrest. See Dkt. No. 1, ¶¶ 37-38. Officer Doe, then allowed

Plaintiff’s unlawful detainment to continue for several hours after being informed of

the facts relevant to the situation. See Dkt. No. 1, ¶¶ 41-48, 59. Several other police

officers were at the scene, and none of them did anything to redress the violations

suffered by Plaintiff. See Dkt. No. 1, ¶ 130. Such indifference or incompetence

from Defendant City’s several police officers certainly infers that the indifference to

Plaintiff’s constitutional rights was a widespread, persistent practice of the City’s



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police force.

        But even absent proof of pattern, deliberate indifference can still be inferred

if the factfinder determines that the risk of constitutional violations was or should

have been an “obvious” or “highly predictable consequence” of the alleged training

inadequacy.        Bd.    Of     Cty.    Comm’rs        v.   Brown,       520     U.S.   397,     409

(1997) (construing Canton, 489 U.S. at 390 & n.10). That is, a single incident may

be sufficient to show deliberate indifference where the facts giving rise to the

violation are such that it should have been apparent to the policymaker that a

constitutional violation was the highly predictable consequence of a particular policy

or failure to train. Burge v. St. Tammany Parish, 3369 F.3d 363, 373 (5th Cir. 2003)

(citing Brown v. Bryan County, 219 F.3d 450, 461 (5th Cir. 2000)). The Supreme

Court in Canton gave a hypothetical for such a situation:

        [C]ity policymakers know to a moral certainty that their police officers will
        be required to arrest fleeing felons. The city has armed its officers with
        firearms, in part to allow them to accomplish this task. Thus, the need to train
        officers in the constitutional limitations on the use of deadly
        force, see Tennessee v. Garner, 471 U.S. 1 (1985), can be said to be “so
        obvious” that failure to do so could properly be characterized as “deliberate
        indifference” to constitutional rights.

Canton, 489 U.S. at 390 n.10 (majority opinion). Under those circumstances, the

need for training is clear because without training, there would be no way for novice

officers to obtain the legal knowledge they require to carry out their clear and

recurring constitutional obligations. Littell v. Houston Indep. Sch. Dist., 894 F.3d



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616, 625 (5th Cir. 2018).

        The Fifth Circuit outlined how a single incident can be sufficient to fasten

liability on a municipality in Littell v. Houston Indep. Sch. Dist., 894 F.3d 616 (5th

Cir. 2018). In Littell, a school police officer authorized several middle school girls

to be strip searched after $50 went missing in a choir class. Littell, 894 F.3d at 620.

Relying on Canton, the Fifth Circuit held that this one instance of a constitutional

violation was sufficient to plausibly allege deliberate indifference by the school. Id.

at 629.

        The allegations in Littell, like the allegations here, mirror Canton’s

hypothetical in all material respects.              The Canton hypothetical discusses the

constitutional duty not to use excessive force when conducting arrests, while Littell

addresses the constitutional duty not to conduct unreasonable searches. Id. The

Canton hypothetical makes clear that excessive force law is sufficiently clear to

ground failure-to-train liability, and because the duties with respect to searches are

arguably defined with greater specificity, then it too is sufficiently clear to ground

failure to train liability. Id. at 626.

        A citizen’s right to gather news by way of recording is arguably even more

clearly defined than either of the previous two examples. See Turner v. Driver, 848

F.3d 687, 688 (5th Cir. 2017) (“The First Amendment protects freedom of speech

and freedom of the press. But the First Amendment goes beyond protection of the



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press and the self-expression of individuals to prohibit government from limiting the

stock of information from which members of the public may draw. . . . [T]here is an

undoubted right to gather news from any source by means within the law.” (internal

quotations omitted)).

         Clearly, Plaintiff’s First Amendment right is sufficiently clear to ground

failure-to-train liability as described in Canton.

         Further, as in Canton and Littell, the constitutional duty not to interfere with

citizens’ rights to record is likely to arise “in recurrent situations that a particular

employee is certain to face.” Littell, 894 F.3d at 626. Given the fact that most

Americans own a phone capable of recording, it is almost impossible to think that a

police officer will not encounter a citizen who is exercising this First Amendment

right.

         In 2017 the Fifth Circuit joined all other Circuits that have ruled on the issue,

in holding that the right to record police officers performing their duties in public

places is well within the protections of the First Amendment. Turner, 848 F.3d at

689.

         This holding makes it clear that officers and police departments needed to be

trained and ready to recognize a citizen’s rights that may be filming police officers

performing government functions in public—even if the officers find it irritating.

         Here, Plaintiff was engaged in a clearly established constitutional right to



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photograph and film police performing their duties in a public space. This was a

situation that Defendant City could have anticipated—that its officers would be

filmed or photographed. Defendant City was required to provide this training to

officers—especially those officers engaged in crowd control. However, that was not

the case.

        Neither Officers Mendoza, Cagle, any other officer on scene, or their

supervising officer Defendant Doe, was properly informed or trained on Plaintiff’s

right to film or record police activity. Had they been, Plaintiff would not have been

detained, assaulted, or injured. In the least, Plaintiff would have been saved from

further injury by Officer Doe had Officer Doe complied with his obligation to

intervene.

        Given the inevitability that their officers would be put in a situation where

they were required to perform their functions while citizens recorded them,

Defendant City knew that not training on these situations would almost surely lead

to constitutional violations. Defendant City failing to provide this training is the

kind of deliberate indifference which creates municipal liability for Section 1983

failure-to-train claims.

        Defendants contend “That a particular officer may be unsatisfactorily trained

will not alone suffice to fasten liability on a municipality, for the officer’s

shortcomings may result from factors other than a faulty training program.” See Dkt.



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No. 7, ¶ 3 (citing Oklahoma City v. Tuttle, 471 U.S. 808 (1985)). This is neither an

accurate statement of the law nor is it directly applicable to the facts of the case at

bar.

        As noted above, the Supreme Court and Fifth Circuit have outlined several

scenarios in which one officer’s conduct is sufficient to fasten liability on a

municipality. See City of Canton v. Harris, 489 U.S. 378 (1989) (decided four years

after Oklahoma City v. Tuttle); Brown v. Bryan County, 219 F. 3d 450 (5th Cir.

2000); Littell v. Houston Indep. Sch. Dist., 894 F.3d 616 (5th Cir. 2018).

        The Oklahoma City v. Tuttle case concerned a single incident by a single

nonpolicymaking officer. Tuttle, 471 U.S. at 824. Plaintiff’s allegations are of a

different nature as this concerned several officers. Neither Officers Cagle nor

Mendoza were aware of Plaintiff’s constitutional right to record from a public

walkway. Further, several other officers were on scene, including officer Doe, and

none of them did anything to redress the violations that had already occurred.

Rather, each of the officers were complicate in allowing the violation to continue—

because of Defendant City’s failure to train and deliberate indifference.

    D. Plaintiff Does Not Seek Punitive Damages Against the City of Lake
       Jackson

        Defendants move to dismiss the punitive damages claim with respect to the

City of Lake Jackson only. Plaintiffs are not seeking punitive damages against the

City of Lake Jackson, but rather seeking punitive damages from the individual

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defendants in this matter.

                                     V.      CONCLUSION

        For the reasons stated herein, and where Defendants City of Lake Jackson and

John Doe have only moved to dismiss Count VII (and possibly Counts V and VI

against Doe), Plaintiffs respectfully requests this Honorable Court deny Defendant

Officers’ motion to dismiss. In the alternative, if this Court finds any pleading-

related issues in Plaintiffs’ complaint, Plaintiffs respectfully request this Court grant

an opportunity to amend. Plaintiff further requests that this Court strike Defendants’

Motion to Dismiss in its entirety, or in part, as put forth above, or in the alternative,

that the Court disregard the conclusory statements made by Defendants in their

motion. Plaintiff requests all other relief to which he may be entitled in law or

equity.



                                                        Respectfully submitted,

                                                        GRABLE GRIMSHAW PLLC

                                                        /s/ Brandon J. Grable
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                               CERTIFICATE OF SERVICE
       I hereby affirm that on this 13th day of June 2022, the foregoing document
was filed with the Court’s CM/ECF electronic filing system, and that a copy of said
document was served upon all parties of record, via electronic service.


                                               /s/ Brandon J. Grable




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